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                         Sweet v. Cardona, No. 19-cv-03674-WHA
                          Plaintiffs’ Motion to Enforce Settlement

                                 Exhibit Table of Contents

Exhibit        Date        Document
  1         06/22/2022     Settlement Agreement (ECF 246-1)
  2         02/27/2023     Initial Report under Settlement Agreement in Sweet et al. v.
                           Cardona
  3         05/30/2023     First Quarterly Report under Settlement Agreement in Sweet et al.
                           v. Cardona
  4         08/28/2023     Second Quarterly Report under Settlement Agreement in Sweet et
                           al. v. Cardona
  5         11/27/2023     Third Quarterly Report under Settlement Agreement in Sweet et
                           al. v. Cardona
  6         02/26/2024     Fourth Quarterly Report under Settlement Agreement in Sweet et
                           al. v. Cardona
   7        09/19/2023     Email from Plaintiffs’ Counsel to DOJ
   8        09/29/2023     Email from Plaintiffs’ Counsel to DOJ
   9        10/06/2023     Email from Plaintiffs’ Counsel to DOJ
  10        10/27/2023     Email from DOJ to Plaintiffs’ Counsel
  11        12/14/2023     Letter from Plaintiffs’ Counsel to DOJ
  12        01/17/2024     Email from Plaintiffs’ Counsel to DOJ
  13        02/02/2024     Notice of Settlement Breach
  14        02/14/2024     Second Notice of Settlement Breach
  15        02/16/2024     Letter from DOJ to Plaintiffs’ Counsel
  16        03/01/2024     Letter from Plaintiffs’ Counsel to DOJ
  17        03/01/2024     Letter from DOJ to Plaintiffs’ Counsel
  18        03/08/2024     Letter from DOJ to Plaintiffs’ Counsel
  19        03/13/2024     Letter from Plaintiffs’ Counsel to DOJ
  20        03/18/2024     Declaration of Malissa Aaronson
  21        03/15/2024     Declaration of Laura Dadich
  22        03/15/2024     Declaration of Stella Johnson
  23        03/18/2024     Declaration of Christopher Matthews
  24        03/15/2024     Declaration of Michael McDonald
  25        03/15/2024     Declaration of Katelin Mundy
  26        03/18/2024     Declaration of Meghan Ratte
  27        03/19/2024     Declaration of Julie Sams
  28        03/19/2024     Declaration of Christina Shaw
  29        03/19/2024     Declaration of Reilly Loynd
